         Case 1:17-cr-00201-ABJ Document 469 Filed 01/07/19 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                 )
 UNITED STATES OF AMERICA                        )
                                                 )
                    v.                           )        Criminal No. 17-201 (ABJ)
                                                 )
 PAUL J. MANAFORT, JR.,                          )        FILED UNDER SEAL
                                                 )
                         Defendant.              )
                                                 )


                    DEFENDANT PAUL J. MANAFORT JR.’S
              MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

       Pursuant to LCrR 49(f)(6), Defendant Paul J. Manafort, Jr., by and through counsel, hereby

requests leave of the Court to file an unredacted version of Mr. Manafort’s response to the Office

of Special Counsel’s submission in support of its breach determination (Attachment A) under seal.

Mr. Manafort further seeks to file a redacted version of the response (Attachment B) into the public

docket with the Court’s approval.

       Out of an abundance of caution, Mr. Manafort has attempted to conform his redactions to

the Office of Special Counsel’s prior redactions in its breach submission. (See Doc. 460 (Redacted

Submission in Support of Breach Determination)). While Mr. Manafort is uncertain whether the

redactions are necessary, he is proceeding in this manner in an effort to be consistent with the

approach taken by the Office of Special Counsel and with the Court’s prior order sealing the

unredacted version of the Office of Special Counsel’s submission.
         Case 1:17-cr-00201-ABJ Document 469 Filed 01/07/19 Page 2 of 2



       WHEREFORE, Mr. Manafort requests that his unredacted response (Attachment A) be

filed under seal and that a redacted version (Attachment B) be filed on the public docket after the

Court rules on this motion. A proposed order accompanies this motion (Attachment C).



Dated: January 7, 2019                               Respectfully submitted,


                                                      /s/
                                                     Kevin M. Downing
                                                     (D.C. Bar No. 1013984)
                                                     Law Office of Kevin M. Downing
                                                     601 New Jersey Avenue NW, Suite 620
                                                     Washington, DC 20001
                                                     (202) 754-1992
                                                     kevindowning@kdowninglaw.com

                                                       /s/
                                                     Thomas E. Zehnle
                                                     (D.C. Bar No. 415556)
                                                     Law Office of Thomas E. Zehnle
                                                     601 New Jersey Avenue NW, Suite 620
                                                     Washington, DC 20001
                                                     (202) 368-4668
                                                     tezehnle@gmail.com

                                                      /s/
                                                     Richard W. Westling
                                                     (D.C. Bar No. 990496)
                                                     Epstein Becker & Green, P.C.
                                                     1227 25th Street, N.W.
                                                     Washington, DC 20037
                                                     Tel: 202-861-1868
                                                     Fax: 202-296-2882
                                                     Email: rwestling@ebglaw.com

                                                     Counsel for Defendant Paul J. Manafort, Jr.




                                                2
